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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                        §
COMMISSION,                                         §
                                                    §
                      Plaintiff,                    §
                                                    §
v.                                                  § CIVIL ACTION NO. 4:18-cv-_______
                                                    §
VANTAGE DRILLING COMPANY,                           §
VANTAGE ENERGY SERVICES, INC.,                      §
VANTAGE DRILLING INTERNATIONAL                      §
F/K/A OFFSHORE GROUP INVESTMENT                     §
LTD., AND VANTAGE INTERNATIONAL                     §
MANAGEMENT COMPANY PTE. LTD.                        §
                                                    §
                      Defendant.                    § JURY TRIAL DEMANDED


                        ORIGINAL COMPLAINT
                              OF THE
      UNITED STATES EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                   NATURE OF THE ACTION

       1.     This is an action under Title I of the Americans with Disabilities Act and Title I of

the Civil Rights Act of 1991 to correct unlawful employment practices on the basis of disability,

and to provide appropriate relief to Charging Party David R. Poston (“Poston” or “Charging

Party”). As alleged with greater particularity in paragraphs 17-23 below, Defendants Vantage

Drilling Company, Vantage Energy Services, Inc., Vantage Drilling International f/k/a Offshore

Group Investment Ltd., and Vantage International Management Company Pte. Ltd. have

engaged in unlawful discrimination by terminating Charging Party because of his disability.

                                   JURISDICTION AND VENUE

       2.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 107(a) of the

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Americans with Disabilities Act of 1990 (“ADA”), as amended, 42 U.S.C. § 12117(a), which

incorporates by reference Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964

(“Title VII”), as amended, 42 U.S.C.§ 2000e-5(f)(1) and (3), and pursuant to Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. § 1981a.

       3.      The unlawful employment practices alleged in this complaint were committed

within the jurisdiction of the United States District Court for the Southern District of Texas,

Houston Division. Venue is appropriate in this Court.

                                            PARTIES

       4.      Plaintiff Equal Employment Opportunity Commission (“Plaintiff” or the

“Commission”) is the agency of the United States of America charged with the administration,

interpretation and enforcement of Title I of the ADA, and is expressly authorized to bring this

action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

       5.      At all relevant times, Defendants Vantage Drilling Company, Vantage Energy

Services, Inc., Vantage Drilling International f/k/a Offshore Group Investment Ltd., and Vantage

International Management Company Pte. Ltd. (hereinafter “Defendants” or “Vantage”) have

each continuously been a Delaware corporation doing business in the State of Texas, in the City

of Houston, County of Harris, including at the address of 777 Post Oak Blvd., Suite 800,

Houston, Texas 77056, and have continuously had, or during the relevant time period had, at

least fifteen (15) employees.

       6.      At all relevant times, Defendants operated as a single, integrated enterprise, and

thus, a single employer, by establishing and maintaining (1) interrelation of operations, (2)




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centralized control of labor relations, (3) common management, and (4) common ownership or

financial control.

       7.      At all relevant times, each Defendant has continuously been an employer engaged

in an industry affecting commerce within the meaning of Sections 101(5) and (7) of the ADA, 42

U.S.C. §§ 12111(5) and (7).

       8.      At all relevant times, each Defendant has been a covered entity under Section

101(2) of the ADA, 42 U.S.C. § 12111(2).

       9.      Vantage’s registered agent for service of process is National Registered Agents,

Inc., located at 160 Greentree Dr., Suite 101, Dover, Delaware 19904 or 1999 Bryan St., Suite

900, Dallas, Texas 75201-3136.

                              ADMINISTRATIVE PROCEDURES

       10.     More than thirty days prior to the institution of this lawsuit, Poston filed a charge

of discrimination with the Commission alleging violations of the ADA by Vantage.

       11.     On October 21, 2016, the Commission issued to Vantage a Letter of

Determination finding reasonable cause to believe that the ADA was violated. The Commission

then invited Vantage to join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and provide appropriate relief.

       12.     The Commission engaged in communications with Vantage to provide

Defendants the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

       13.     The Commission was unable to secure from Vantage a conciliation agreement

acceptable to the Commission.




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       14.      On February 17, 2017, the Commission issued to Vantage a Notice of Failure of

Conciliation.

       15.      All conditions precedent to the institution of this lawsuit have been fulfilled.

                                   STATEMENT OF CLAIMS

       16.      Vantage is an international offshore drilling contractor which operates and

manages a fleet of drilling rigs, including a drill rig known as the “Titanium Explorer,” and

provides contract drilling services to oil companies around the world.

       17.      Since at least 2014, Defendants have engaged in unlawful employment practices

on the basis of disability in violation of Section 102(a) of the ADA, 42 U.S.C. §§ 12112(a).

       18.      Poston was employed by Vantage as the Titanium Explorer’s Chief Electronic

Technician from on or about February 11, 2011 to on or about October 2, 2014, when he was

unlawfully terminated due to his disability – a heart condition, a history of such a condition, or

being regarded as having such a condition.

       19.      Poston was targeted for termination while on short-term disability leave. Poston

took disability leave due to a heart attack which resulted in a substantially limiting impairment to

his cardiovascular major bodily functions. He was terminated immediately upon being medically

released to return to work.

       20.      Poston is a qualified individual with a disability under Sections 3 and 101(8) of

the ADA, 42 U.S.C. §§ 12102 and 12111(8), in that he has an impairment that substantially

limits a major life activity or major bodily function, he has a record of an impairment that

substantially limits a major life activity or major bodily function, and/or Defendants regarded

him as having a disability. Respondent subjected Poston to an adverse employment action,




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termination, on the basis of disability by discharging him because of his actual or perceived heart

impairment.

       21.     The effect of these unlawful practices has been to deprive Poston of equal

employment opportunities, and to otherwise adversely affect his employment status as an

employee because of his disability within the meaning of the ADA.

       22.     The unlawful employment acts, omissions and practices complained of in

paragraphs 17-21 above were intentional within the meaning of Section 706(g)(1) of Title VII,

42 U.S.C. § 2000e-5(g)(1), as incorporated by Section 107(a) of the ADA, 42 U.S.C. § 12117(a).

       23.     The unlawful employment practices complained of in paragraphs 17-21 above

were done with malice or with reckless indifference to Poston’s federally protected rights, within

the meaning of Section 102(b)(1) of Title I of the Civil Rights Act of 1991, 42 U.S.C. §

1981a(b)(1).

                                    PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendants, their officers, agents,

servants, employees, attorneys, and all persons in active concert or participation with them, from

engaging in discrimination based on disability.

       B.      Order Defendants to institute and carry out policies, practices, and programs

which provide equal employment opportunities for qualified individuals with disabilities, and

which eradicate the effects of its past and present unlawful employment practices.

       C.      Order Defendants to make whole David R. Poston by providing appropriate back

pay with prejudgment interest, in amounts to be determined at trial, and other affirmative relief

necessary to eradicate the effects of its unlawful employment practices described in paragraphs


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17-21 above, including, but not limited to, reinstatement of David R. Poston, where appropriate,

or an award of front pay in an amount to be proved at trial if reinstatement is impractical.

         D.     Order Defendants to make whole David R. Poston by providing compensation for

past and future pecuniary losses resulting from their unlawful employment practices described in

paragraphs 17-22 above, including, but not limited to, the value of lost insurance benefits, job

search expenses, and other out-of-pocket expenses in amounts to be determined at trial.

         E.     Order Defendants to make whole David R. Poston by providing compensation for

past and future non-pecuniary losses resulting from its unlawful practices complained of in

paragraphs 17-22 above, including, but not limited to, emotional pain, suffering, inconvenience,

loss of enjoyment of life, and humiliation, in amounts to be determined at trial.

         F.     Order Defendants to pay David R. Poston punitive damages for their malicious

and reckless conduct, as described in paragraphs 17-23 above, in amounts to be determined at

trial.

         G.     Grant such further relief as the Court deems necessary and proper in the public

interest.

         H.     Award the Commission its costs of this action.

                                     JURY TRIAL DEMAND

         The Commission requests a jury trial on all questions of fact raised by its complaint.


                                               Respectfully submitted,

                                               U.S. EQUAL EMPLOYMENT OPPORTUNITY
                                                      COMMISSION

                                               JAMES LEE
                                               Deputy General Counsel

                                               GWENDOLYN YOUNG REAMS

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